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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


RICHARD DASCHBACH                     :
individually and on behalf of all     :
others similarly situated,            :
                                      :
       Plaintiff,                     :
                                      :
                                      :    CASE NO. 1:22-cv-00346-JL
v.                                    :
                                      :
ROCKET MORTGAGE, LLC,                 :    November 29, 2022
                                      :
       Defendant.                     :
                                      :

       ROCKET MORTGAGE, LLC’S MEMORANDUM OF LAW IN SUPPORT
     OF ITS MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT


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                                        INTRODUCTION

       Plaintiff Richard Daschbach brings this putative class action lawsuit against Rocket

Mortgage—a multiple J.D. Power award winner for customer service in the mortgage loan

industry—for alleged violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et

seq. (“TCPA”), the TCPA’s implementing regulations, and New Hampshire’s Telemarketing Sales

Calls statute (“NHTSC”), N.H. Rev. Stat. Ann. § 359-E:8. After Rocket Mortgage alerted Plaintiff

to the numerous factual inaccuracies in his original Complaint (ECF No. 1, “Compl.”), the parties

stipulated to allow Plaintiff to amend and to extend Rocket Mortgage’s responsive pleading

deadline. ECF No. 6. In his First Amended Complaint (ECF No. 10, “FAC”), Plaintiff now

purports to assert six causes of action against Rocket Mortgage arising from four alleged telephone

calls and three alleged text messages in September 2021 and March 2022. But the same pleading

defects in Plaintiff’s original Complaint continue to infect the FAC and Plaintiff still fails to state

a cognizable claim. As such, this Court should dismiss this lawsuit with prejudice.

       In his original Complaint, Plaintiff admitted that he submitted his name, phone number,

email address, and other personal information about himself and his then-existing mortgage loan

as part of an online request for mortgage refinance information from Rocket Mortgage and other

mortgage lenders. Compl. ¶¶ 20-23, 25; see also id. ¶ 41. 1 Plaintiff nonetheless disputed that

providing his phone number and request for information online was sufficient consent to the

challenged calls and texts from Rocket Mortgage. After Rocket Mortgage informed Plaintiff that

his original Complaint misidentified the website at which he made his online request for mortgage

refinance information and consented to the challenged calls and texts, Plaintiff conveniently


1
 This Court may consider Plaintiff’s original pleading on this motion to dismiss. See Wiseman v.
Reposa, 463 F.2d 226, 227 (1st Cir. 1972) (error to not permit defendant to explore the differences
between allegations in original and amended complaint because “[a]s a matter of pleading, the
original complaint had disappeared. As an admission against interest, it had not.”).
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changed course and chose to exclude his allegations about his online submission in the FAC,

though he did identify the correct website (refinance.enhancedrefinow.com) in certain of his

putative class definitions (FAC ¶ 31). The obvious purpose of this exclusion was to attempt to

escape pleading (expressly) that Plaintiff consented to the challenged calls and texts. But this

litigation gamesmanship cannot save this lawsuit because, as demonstrated below, Plaintiff cannot

escape his prior pleading and each of his claims is defectively pled in multiple, material respects,

and so fails to state a claim upon which relief can be granted. Fed. R. Civ. P. 8 & 12(b)(6). 2

       In the six counts in the FAC, Plaintiff generally alleges that Rocket Mortgage’s purported

calls and texts to him in September 2021 and March 2022 violated (1) the TCPA’s provisions and

regulations (a) prohibiting calls to cellphones using an automatic telephone dialing system

(“ATDS”) without prior consent (Counts I and II); (b) restricting telephone solicitation calls to

phone numbers properly registered on the National Do-Not-Call (“DNC”) registry (Count III), and

(c) requiring companies to implement a procedure to maintain an internal do-not-call list (Count

IV); and (2) the NHTSC’s prohibition on telemarketing sales calls to phone numbers properly

registered on the National Do-Not-Call Registry (Counts V and VI). The conclusory FAC falls

woefully short of pleading the requisite plausible factual allegations to sustain any of these claims.

       First, as to the TCPA ATDS claims in Counts I and II, Daschbach fails to plead any

plausible factual allegations from which this Court could conclude that the challenged calls and

text messages were made using an ATDS—a necessary element of a TCPA ATDS claim. 47

U.S.C. § 227(b)(1). The TCPA defines an ATDS as equipment which has the capacity “(A) to

store or produce telephone numbers to be called, using a random or sequential number generator;


2
 As Rocket Mortgage demonstrates in its contemporaneously-filed Motion to Compel Arbitration
(ECF No. 15), Plaintiff expressly agreed to arbitrate the federal and state law claims improperly
brought in this lawsuit. Of course, if this Court agrees that Plaintiff agreed to arbitration, then it
need not reach this Motion.
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and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1)(A)-(B). According to the Supreme Court,

“[t]o qualify as an ‘automatic telephone dialing system,’ a device must have the capacity either to

store a telephone number using a random or sequential generator or to produce a telephone number

using a random or sequential number generator.” Facebook, Inc. v. Duguid, 141 S. Ct. 1163, 1167

(2021). Here, although Plaintiff makes the conclusory allegation that “Defendant and/or its agents

utilized an automatic telephone dialing system . . . [that] has the capacity to store, produce, and

dial random or sequential numbers” (FAC ¶ 8), he does not plead any facts that his phone number

was randomly or sequentially generated (and it was not). And his admission in his original

Complaint that he voluntarily provided his phone number online as part of a request for mortgage

refinance information belies any assertion that his phone number was randomly or sequentially

generated and called by Rocket Mortgage. Compl. ¶¶ 23-26, 30; see also FAC ¶ 31. Instead, the

plausible and common sense inference arising from Plaintiff’s admission is that the calls and texts

were made because Plaintiff provided his number as part of his online request for mortgage

refinance information from Rocket Mortgage. Such targeted calls made in response to a request

for them at a number provided by Plaintiff are not consistent with, and contrary to, the use of an

ATDS. E.g., Snow v. Gen. Elec. Co., No. 5:18-CV-511-FL, 2019 WL 2500407, at *4 (E.D.N.C.

June 14, 2019) (“Because plaintiff alleges that the text messages she received were intended for .

. . a targeted recipient . . . it is not reasonable to infer that the messages were sent” using an ATDS

(emphasis added)).

       Second, as to the TCPA DNC registry claim in Count III, the applicable provision applies

only to telephone solicitation calls, which FCC—the federal agency responsible for the TCPA—

expressly defines to exclude calls made with prior invitation or permission.             47 C.F.R. §

64.1200(f)(15). Here, however, Plaintiff admitted in his original Complaint that he provided his



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phone number online as part of a request for mortgage refinance information and invited the

challenged calls and texts. Compl. ¶¶ 23-26, 30; see also FAC ¶ 31. Such invited calls and texts

are not “telephone solicitations,” and so cannot sustain Count III as a matter of law.

       Third, as to the TCPA procedures claims in Count IV, Plaintiff fails to plead plausible

factual allegations that Rocket Mortgage failed to implement the requisite procedure for

maintaining an internal do-not-call list. The FAC nowhere contains any factual allegations to

make its conclusory assertion that Rocket Mortgage did not have the requisite internal do-not-call

list procedure plausible (47 C.F.R. § 64.1200(d)). This is not surprising given that the Southern

District of Florida already has concluded that Rocket Mortgage had the requisite internal do-not-

call list procedure in place as early as 2012—nine years before the 2021 telephone calls alleged

here. Nece v. Quicken Loans, Inc. (n/k/a/ Rocket Mortgage), No. 8:16-cv-2605, 2018 WL

1326885, at *7-8 (M.D. Fla. Mar. 15, 2018). The FAC here pleads no plausible basis for this Court

to conclude that Rocket Mortgage somehow had the requisite procedure in 2012, but not in 2021.

       Lastly, the NHTSC claims Counts V and VI fail to state a claim because (a) just as the

challenged calls were not “telephone solicitations” within the meaning of the TCPA, they were not

“telemarketing” calls within the meaning of the NHTSC; (b) the statute does not apply unless the

caller made “more than five tele[marketing] calls per month” to the customer (N.H. Rev. Stat. Ann.

§ 359-E:7(X)) and here Plaintiff alleges only a total of four telephone calls from Rocket Mortgage

(FAC ¶¶ 20-22, 24); and (c) the statute does not apply to text messages (N.H. Rev. Stat. Ann. §

359-E:7(X) (“Telemarketing shall not include the solicitation of sales through media other than by

telephone calls.”).

       For these and the additional reasons discussed below, the FAC fails to state a claim and

should be dismissed.



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                                          BACKGROUND

        In the original Complaint, Plaintiff admitted that “[i]n or around early September 2021” he

went online and submitted his personal information, including his phone number, in order to

“check his eligibility” to save money on his mortgage. Compl. ¶¶ 20-21. Plaintiff alleged that he

typed in personal information about himself, including his name, email address, home address,

phone number, employment status, the amount owed on his mortgage, his mortgage’s interest rate,

his military status, and credit information, to see if he qualified and to see potential mortgage rates.

Compl. ¶¶ 22-25. According to Plaintiff, to “view his results, [he] entered his information and

selected Submit” at the bottom of the website. Id. Plaintiff also stated that shortly after making

his online request for mortgage refinance information, “Plaintiff began receiving telemarketing

calls from Rocket Mortgage.” Id. ¶ 30.

        After Rocket Mortgage alerted Plaintiff’s counsel to the fact that Plaintiff had made his

request for mortgage refinance information from Rocket Mortgage at a different website

(refinance.enhancedrefinow.com) than the one pled in the original Complaint (fedratewatch.org),

Plaintiff filed the FAC on November 4, 2022. In the FAC, instead of correcting the allegations

regarding which website Plaintiff visited, Plaintiff completely removed his allegations regarding

his online request for mortgage refinance information in apparent recognition that those allegations

doomed his TCPA and NHTSC claims. Compare Compl. ¶¶ 20-25 with FAC. The only remaining

references to his online request for refinance information are now buried in the putative class

definitions, where Plaintiff limits the putative classes to individuals “whom Defendant claims it

obtained     [prior    consent      or    invitation     or    permission]      via     the    website

refinance.enhancedrefinow.com.” FAC ¶ 31 (emphasis added).




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       Similar to the original Complaint, the FAC alleges that “[i]n September 2021, Plaintiff

began receiving unsolicited telemarketing calls from Rocket Mortgage.” FAC ¶ 20. Specifically,

he alleges that he received four phone calls (one call on September 13, 2021, two calls on

September 14, 2021 and one call on September 15, 2021) and three text messages (one on

September 14, 2021 and two in March 2022) from Rocket Mortgage. FAC ¶¶ 20-26.

       Plaintiff claims that his cell phone number—the same one he provided as part of his online

request for mortgage loan information—was registered on the DNC registry on February 23, 2019,

id. ¶ 18, and that the calls and texts he received from Rocket Mortgage were made without his

prior consent. Id. ¶¶ 20, 29. Daschbach also claims that during the September 15, 2021 call, he

requested that Rocket Mortgage stop placing calls to his cell phone. Id. ¶ 24.

       Against these sparse (and selective) allegations, Plaintiff purports to assert four claims

against Rocket Mortgage for violation of the TCPA and two claims for violation of the NHTSC.

                                      LEGAL STANDARD

       To survive a motion to dismiss under Rule 12(b)(6), Plaintiff must present “more than

labels and conclusions” in his Complaint to establish his entitlement to relief; his “[f]actual

allegations must be enough to raise a right to relief above the speculative level.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). “[T]hreadbare recitals of a cause of action’s elements,

supported by mere conclusory statements” are insufficient to overcome a motion to dismiss.

Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (citation omitted). Rather, when “the factual

allegations in the complaint are too meager, vague, or conclusory to remove the possibility of relief

from the realm of mere conjecture, the complaint is open to dismissal.” SEC v. Tambone, 597 F.3d

436, 442 (1st Cir. 2010). “[A] reviewing court is obliged neither to ‘credit bald assertions,

periphrastic circumlocutions, unsubstantiated conclusions, or outright vituperation,’ nor to honor



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subjective characterizations, optimistic predictions, or problematic suppositions.” United States

v. AVX Corp., 962 F.2d 108, 115 (1st Cir. 1992) (citation omitted).

       Although the filing of an amended pleading supersedes the original, as “an admission

against interest,” the original complaint does not disappear. Wiseman, 463 F.2d at 227; see also

Phillips v. Murphy, No. CIV.A. 0140166RWZ, 2003 WL 22595198, at *2 (D. Mass. Nov. 10,

2003) (dismissing plaintiff’s due process claims asserted in amended complaint based on

admission made in original complaint); Glob. ePoint, Inc. v. GTECH Corp., 58 F. Supp. 3d 178,

190 (D.R.I. 2014) (denying summary judgment on basis of admissions made in original complaint

as “statements made in the superseded complaint may be party admissions, usable as such, despite

the subsequent amendment of the complaint”) (internal quotations omitted). Rather, courts in this

Circuit regularly consider facts from an original complaint in deciding a Rule 12(b)(6) motion to

dismiss. See Tomas v. Buckley, No. 19-cv-12079-ADB, 2020 WL 2616304, at *4 (D. Mass. May

22, 2020) (granting motion to transfer for lack of personal jurisdiction after taking facts from

original complaint and amended complaint); Golub v. Ne. Univ., No. 19-cv-10478-ADB, 2020 WL

3086050, at *1 (D. Mass. June 10, 2020), aff’d, No. 20-1674, 2021 WL 6425374 (1st Cir. July 20,

2021) (considering facts from original and amended complaint and granting motion to dismiss).

This is particularly true when, as here, the amended complaint contains sparse detail regarding the

facts at issue. See Lifchits v. Integon Nat’l Ins. Co., No. 18-cv-12637-ADB, 2020 WL 4756272,

at *1 (D. Mass. Aug. 17, 2020) (dismissing amended complaint after considering original

complaint to “discern the factual allegations that support Plaintiff’s claims” because “the amended

complaint contains limited details about the accident at issue”).

       Application of these well-established standards to the FAC demonstrates that this Motion

should be granted and Plaintiff’s claims dismissed.



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                                          ARGUMENT

I.     COUNTS I AND II FAIL BECAUSE PLAINTIFF FAILS TO PLEAD THE ATDS
       ELEMENT OF HIS TCPA ATDS CLAIMS.

       An essential element of any TCPA ATDS claim—the claim alleged in Counts I and II

here—is that the challenged calls or texts were made using an “automatic telephone dialing

system.” 47 U.S.C. § 227(b)(1)(A). Daschbach’s TCPA ATDS claims fail because he has not

plausibly alleged that Rocket Mortgage used an ATDS to make any call or text message to his

cellphone. This omission is fatal, and so Daschbach’s TCPA cellphone provision claims in Counts

I and II must be dismissed.

       Last year the Supreme Court struck-down an expansive interpretation of what constitutes

an ATDS and instead held that the strict statutory language controlled. Duguid, 141 S. Ct. at 1168-

69. The Supreme Court held that telephone technology cannot constitute an ATDS unless such

technology has (1) “the capacity either to store a telephone number using a random or sequential

number generator,” or (2) “to produce a telephone number using a random or sequential number

generator.” Id. at 1164, 1167. Here, however, the FAC does not allege any facts sufficient to

plead that the technology purportedly used to make any calls or text message to Plaintiff meets

either requirement under Duguid. Instead, Plaintiff offers little more than a conclusory allegation

that Rocket Mortgage used an ATDS to call and text him. FAC ¶¶ 8, 43. But such conclusory

allegations devoid of factual enhancement that merely parrot the statutory language are insufficient

to sustain Plaintiff’s pleadings burden as a matter of law. 47 U.S.C. § 227(a)(1); e.g., U.S. ex rel.

Karvelas v. Melrose-Wakefield Hosp., 360 F.3d 220, 240 (1st Cir. 2004) (“[s]imply parroting the

language of a statutory cause of action, without providing some factual support, is not sufficient

to state a claim”); Lord v. Kisling, Nestico & Redick, LLC, No. 1:17-CV-01739, 2018 WL

3391941, at *3 (N.D. Ohio July 12, 2018) (“Plaintiffs’ complaint only parrots the statutory


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language and fails to state a claim for violation of the TCPA.”); Aikens v. Synchrony Fin. d/b/a

Synchrony Bank, No. 15-10058, 2015 WL 5818911, at *4 (E.D. Mich. July 31, 2015), report and

recommendation adopted, 2015 WL 5818860 (E.D. Mich. Aug. 31, 2015) (collecting cases; the

“Court may not accept an assertion that an ATDS was used simply because Plaintiff states as

much”); Naiman v. Freedom Forever, LLC, No. 19-cv-00256-JSC, 2019 WL 1790471, at *3 (N.D.

Cal. Apr. 24, 2019) (dismissing ATDS claims where “complaint contains no further, factual

allegations regarding the alleged use of an ATDS. Such ‘a formulaic recitation of the elements of

a cause of action’ is insufficient to survive dismissal”) (emphasis original) (quoting Iqbal, 556

U.S. at 678); see also Sanchez v. Pereira-Castillo, 590 F.3d 31, 49 (1st Cir. 2009) (affirming

dismissal of defendants for which plaintiff’s allegations only parroted the statutory standard).

        Nor are Plaintiff’s TCPA ATDS claims in Counts I and II saved by his bald assertion that

“the dialing system used to place the calls at issue has the capacity to use a random or sequential

number generator in the process of storing numbers from a pre-produced list for texting and calling

at a later date.” FAC ¶ 9. A system that dials numbers from a pre-produced list is not an ATDS

and any assertion otherwise “is precisely the outcome the Supreme Court rejected in Duguid when

it overturned a decision by this court holding that an ATDS ‘need only have the capacity to store

numbers to be called and to dial such numbers automatically.’” Meier v. Allied Interstate LLC,

No. 20-55286, 2022 WL 171933, at *1 (9th Cir. Jan. 19, 2022) (affirming dismissing of ATDS

claim); Soliman v. Subway Franchisee Advert. Fund Tr., Ltd., No. 3:19-cv-592 (JAM), 2022 WL

2802347, at *3 (D. Conn. July 18, 2022), appeal docketed, No. 22-1726 (2d Cir. Aug. 9, 2022)

(“The TCPA is clear: a device is not an automatic telephone dialing system merely because it

generates random or sequential index numbers that are used in turn to select which numbers to call

from a stored list”).



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       Indeed, Plaintiff’s assertion has been consistently rejected post-Duguid as a legitimate

basis for a TCPA ATDS claim, including by the Ninth Circuit, Eighth Circuit and lower courts

within the Third Circuit, Fourth Circuit, Sixth Circuit, and Tenth Circuit. Beal v. Outfield Brew

House, LLC, 29 F.4th 391, 396 (8th Cir. 2022) (holding that “system which merely stores and dials

phone numbers is not an Autodialer”); Borden v. eFinancial, LLC, No. 21-35746, 2022 WL

16955661, *4 (9th Cir. Nov. 16, 2022) (same; “an autodialer must randomly or sequentially

generate and dial a telephone number”); Austria v. Alorica, Inc., No. 2:20-cv-05019-ODW

(PVCx), 2021 WL 5968404, at *3 (C.D. Cal. Dec. 16, 2021) (dismissing TCPA claim for failure

to allege facts supporting ATDS element; collecting cases) 3; see also Eggleston v. Reward Zone

USA LLC, No. 2:20-cv-01027-SVW-KS, 2022 WL 886094, at *4 (C.D. Cal. Jan. 28, 2022) (“to be

an autodialer under § 227(a)(1), the equipment must use a number generator to generate the phone

numbers themselves.”) (emphasis in original); Hufnus v. DoNotPay, Inc., No. 20-cv-08701-VC,

2021 WL 2585488, at *1 (N.D. Cal. June 24, 2021) (dismissing ATDS claim and rejecting same

argument); Edwards v. Alorica, Inc., No. 8:19-CV-02124-JWH-DFMx, 2021 WL 4622390, at *2

(C.D. Cal. Aug. 30, 2021) (granting default judgment on ATDS claim when plaintiff did not allege

that the system used to place the calls “created her number randomly or sequentially”); Watts v.

Emergency Twenty Four, Inc., No. 20-cv-1820, 2021 WL 2529613, at *3 (N.D. Ill. June 21, 2021)

(dismissing TCPA claim where plaintiff does not allege that defendant’s “system uses a random

or sequential number generator” and “the alleged facts suggest that … [defendant’s] equipment

stored [plaintiff’s] number in a database and dialed that stored number”); Barry v. Ally Fin., Inc.,

No. 20-12378, 2021 WL 2936636, at *6 (E.D. Mich. July 13, 2021) (dismissing TCPA claim



3
  “None of [Congress’s] concerns are present in a case where the phone numbers being dialed
come from a legitimate list of customer or client contacts rather than the workings of a random or
sequential number generator.” Id. at *4.
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where “Plaintiff pleads that she, and purported class members, were called in connection with

specific accounts held by Defendant for a specific purpose, and not through randomly or

sequentially generated numbers”); Mina v. Red Robin Int’l, Inc., No. 20-cv-00612-RM-NYW,

2022 WL 2105897, at *5 (D. Colo. June 10, 2022), appeal docketed, No. 22-1286 (10th Cir. Sept.

13, 2022) (dismissing TCPA claim rejecting plaintiff’s Duguid “footnote 7” argument); Guglielmo

v. CVS Pharmacy, Inc., No. 3:20cv1560 (JBA), 2021 WL 3291532, at *2 (D. Conn. Aug. 2, 2021)

(dismissing ATDS claim “under Facebook’s strict reading of the TCPA”). This Court should not

hesitate to follow these courts and dismiss Plaintiff’s TCPA ATDS claims.

       The propriety of dismissal of Counts I and II is reinforced by the reality that the sparse

factual allegations Plaintiff does plead about the calls and texts he received are inconsistent with

the use of an ATDS to make them. As noted, Daschbach admitted in his original Complaint that

he provided his name and phone number online as part of a request for mortgage refinance

information and that because of that online submission (not the requisite random or sequential

number generation), he began to receive phone calls from Rocket Mortgage. Compl. ¶¶ 23-25, 30.

While he is silent on his provision of his phone number in the FAC, his prior admission, combined

with the inclusion of the “refinance.enhancedrefinow.com” as a qualifying factor for inclusion in

three of his putative class definitions (FAC ¶ 31), is fatal. 4 There is no reason for Plaintiff to

include that website in his class definitions unless he visited it, consistent with his allegations in

his original Complaint. The allegations in the Complaint and FAC combined support the only




4
  Rocket Mortgage’s Motion to Compel Arbitration provides details regarding Plaintiff’s online
submissions and consents. ECF No. 15. This Court may take judicial notice of that filing on this
Motion to Dismiss. See Lydon v. Local 103, Int’l Bhd. of Elec. Workers, 770 F.3d 48, 53 (1st Cir.
2014) (on a motion to dismiss, “a judge can mull over ‘documents incorporated by reference in
[the complaint], matters of public record, and other matters susceptible to judicial notice”);
Jeranian v. Dermenjian, No. CV 18-652JJM, 2019 WL 6117991, at *2, n.3 (D.R.I. Nov. 15, 2019)
(taking judicial notice of other public filings in considering motion to dismiss).
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plausible and common sense inference, which is that the calls and texts from Rocket Mortgage

were    a    result   of   Plaintiff   submitting     his   phone     number     online    at   the

“refinance.enhancedrefinow.com” website, as he alleges. Iqbal, 556 U.S. at 679 (“Determining

whether a complaint states a plausible claim for relief will, as the Court of Appeals observed, be a

context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.”); Twombly, 550 U.S. at 564–69 (finding a plaintiff’s factual allegations gave rise

to an equally plausible inference of lawful conduct); Squeri v. Mount Ida Coll., 954 F.3d 56, 65-

66 (1st Cir. 2020) (affirming dismissal where amended complaint failed to state a plausible claim;

“If the factual allegations in the complaint are too meager, vague, or conclusory to remove the

possibility of relief from the realm of mere conjecture, the complaint is open to dismissal.”);

Doucette v. GE Cap. Retail Bank, No. 14-CV-012-LM, 2014 WL 4955675, at *3 (D.N.H. Oct. 2,

2014) (TCPA claim not plausible where plaintiff only alleged that they received collections calls

from defendant).

       Here, Plaintiff’s own allegations reveal that Rocket Mortgage called and texted the phone

number he provided online in response to his request for information—not that Rocket Mortgage

“produce[d]” and “dialed” his “telephone number using a random or sequential number generator.”

Duguid, 141 S. Ct. at 1164. 5 “[C]ourts have rejected TCPA claims based on the alleged use of an

autodialer where the plaintiff alleged that the contacted phone numbers were voluntarily provided

to the defendant.” Mina, 2022 WL 2105897, at *5. Accordingly, Plaintiff’s own allegations about




5
  Plaintiff pleads that after speaking to a Rocket Mortgage team member on September 14, 2021,
“Plaintiff received a follow-up email from Mollie Warsing” (FAC ¶ 22), and the next day that
same Rocket Mortgage banker called him back. FAC ¶ 24. These allegations further support
that the calls were targeted to him, and not random. Courts across the country consistently hold
that targeted calls “weigh against an inference that [an] ATDS was used.” E.g., Jovanovic v.
SRP Invs. LLC, No. CV-21-00393-PHX-JJT, 2021 WL 4198163, at *4 (D. Ariz. Sept. 15, 2021)
(dismissing TCPA claim for failure to sufficiently plead ATDS element) (citation omitted).
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his voluntary provision of his telephone number as part of a request for mortgage information are

fatal to his TCPA ATDS claim. E.g., id. (collecting cases); Soliman, 2022 WL 2802347, at *3

(dismissing TCPA claim for failure to allege phone number was randomly or sequentially dialed);

Borden v. eFinancial, LLC, No. C19-1430JLR, 2021 WL 3602479, at *5 (W.D. Wash. Aug. 13,

2021), aff’d, No. 21-35746, 2022 WL 16955661 (9th Cir. Nov. 16, 2022) (dismissing ATDS claim

when plaintiff “expressly alleges that he provided his phone number to eFinancial through the

[online] form”).

        In sum, the FAC’s conclusory assertions and sparse factual allegations are insufficient to

move Daschbach’s TCPA ATDS claims in Count I and II across the line from possible to plausible.

Twombly, 550 U.S. at 557; Iqbal, 556 U.S. at 678. Counts I and II should be dismissed.

II.     COUNT III FAILS BECAUSE PLAINTIFF DOES NOT PLEAD THE
        THRESHOLD     ELEMENT    THAT   HE    RECEIVED   TELEPHONE
        SOLICITATIONS WITHIN THE MEANING OF THE TERM UNDER THE TCPA.

      Plaintiff’s TCPA DNC claim in Count III rests on the DNC registry regulation set forth in 47

C.F.R. § 64.1200(c)(2). FAC ¶¶ 59-72. That provision prohibits “telephone solicitations” to “[a]

residential telephone subscriber who has registered his or her telephone number on the national

do-not-call registry.” 47 C.F.R. § 64.1200(c)(2). A “telephone solicitation” is defined as “a

telephone call or message for the purpose of encouraging the purchase or rental of, or investment

in, property, goods, or services . . . but such term does not include a call or message: (i) [t]o any

person with that person’s prior express invitation or permission.” 47 C.F.R. § 64.1200(f)(15).

Here, Plaintiff’s claim in Count III should be dismissed for the principal reason that he does not

plead that the challenged calls and texts were “telephone solicitations” within this regulatory

definition. In fact, Plaintiff can plead no such thing because in his original Complaint he alleged

that he invited the challenged calls and texts through his online submission requesting mortgage

refinance information. Compl. ¶¶ 23-25.
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       As discussed above (supra § I), because the original Complaint pled that Plaintiff provided

his phone number for this purpose, and the FAC class definitions make reference to the

refinance.enhancedrefinow.com website where he made his online request, such is an admission

against interest that Plaintiff provided “permission or invitation” for the challenged calls and texts.

And because he did, the calls and texts were not “telephone solicitations.” “If a call is otherwise

subject to the prohibitions of § 64.1200, persons who knowingly release their phone numbers have

in effect given their invitation or permission to be called at the number which they have given,

absent instructions to the contrary.” In the Matter of Rules & Reguls. Implementing the Tel.

Consumer Prot. Act of 1991, 7 F.C.C. Rcd. 8752, 8769 (1992); Morris v. Copart, No. 15-724,

2016 WL 6608874, at *8 (E.D. Tex. Nov. 9, 2016) (finding challenged calls were not “telephone

solicitations” when plaintiff invited calls); see also Gorss Motels, Inc. v. Lands’ End, Inc., 997

F.3d 470, 477 (2d Cir. 2021) (“The TCPA requires ‘express permission,’ which is defined as

“[p]ermission that is clearly and unmistakably granted by actions or words, oral or

written.’ Permission, Black's Law Dictionary (11th ed. 2019). . . [Plaintiff] ‘underst[ood] that by

providing a fax number,’ it was “agreeing to receive faxed advertisements’ and ‘clearly and

unmistakably grant[ing]’ permission to receive those fax advertisements.”); see also 7 F.C.C. Rcd.

8752, 8756 (equating “invitation or permission” with “prior express consent”).

       In examining “prior express consent” under the TCPA, courts consistently find that

providing one’s phone number constitutes consent or invitation to receive calls and texts. Saunders

v. NCO Fin. Sys., Inc., 910 F. Supp. 2d 464, 467 (E.D.N.Y. Dec. 19, 2012) (“authorities are almost

unanimous that voluntarily furnishing a cellphone number to a vendor or other contractual

counterparty constitutes express consent”); Lamont v. Furniture N., LLC, No. 14-cv-036-LM,

2014 WL 1453750, at *3 (D.N.H. Apr. 15, 2014) (“By giving her phone number to BDF when she



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bought merchandise, Mrs. Lamont also gave BDF express consent . . . to contact her. Thus, BDF

is entitled to dismissal of Mrs. Lamont’s claim under the TCPA”); Ebling v. ClearSpring Loan

Servs., Inc., 106 F. Supp. 3d 1002, 1003, 1005 (D. Minn. 2015) (finding plaintiff could not

establish a TCPA violation where she pleaded that she informed the defendant that it could contact

her on her cell phone); Murphy v. DCI Biologicals Orlando, LLC, No. 6:12-cv-1459, 2013 WL

6865772, at *5 (M.D. Fla. Dec. 31, 2013) (dismissing the plaintiff’s TCPA claim where “the face

of [his] Amended Complaint clearly contains the allegation that he voluntarily provided

[defendant] with his cellular telephone number”), aff’d, 797 F.3d 1302 (11th Cir. 2015).

Consistent with these authorities, because Daschbach admitted that he invited the calls and texts

through his online submission, Plaintiff has not plausibly alleged in the FAC that he received

“telephone solicitation[s]” from Rocket Mortgage to sustain his claim in Count III. 47 C.F.R.

§ 64.1200(f)(15). Count III thus should be dismissed. Fishman v. Tiger Nat. Gas, Inc., No. 17-

05351, 2018 WL 1242076, at *4 (N.D. Cal. Mar. 8, 2018) (dismissing claims under 227(c) for

failure to plausibly allege multiple telephone solicitation calls from defendant).

III.   COUNT IV FAILS BECAUSE PLAINTIFF DOES NOT PLEAD THAT ROCKET
       MORTGAGE LACKED THE REQUISITE DO-NOT-CALL PROCEDURE.

       Although Plaintiff’s claim in Count IV (citing generally to Section 64.1200, without any

pincite) is ambiguously muddied and overlapping with his claims in Count III (citing to Sections

64.1200(c) and (d)), it appears that in Count IV Plaintiff purports to plead a violation of 47 C.F.R.

§ 64.1200(d) for failure to institute the necessary procedures prior to calling Plaintiff. FAC ¶¶ 75-

77. While Plaintiff revised Count IV in the FAC to remove the allegation that Rocket Mortgage

failed to “hav[e] a written policy for maintaining a list of persons who request not to receive

telemarketing calls from them” (see Compl. ¶ 88), he has (confusingly) lodged a similar challenge

in FAC ¶ 69 within Count III. To the extent Count III also purports to bring a claim for alleged


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failure to institute procedures (see FAC ¶ 69), as explained below, it fails for the same reasons as

Count IV. 6 In any event, Plaintiff also now pleads that “on information and belief, Defendant fails

to adequately train its employees and personnel involved in telemarketing in the existence and use

of its do not call policy or do not call list.” FAC ¶ 78. But there is no such claim—only a claim

for the absence of such procedures—and in any event the allegation is conclusory and defectively

pled.

        As Plaintiff seems to acknowledge, Subsection 64.1200(d) does not allow a claim simply

on the basis of an alleged failure to honor an opt-out request within a reasonable time. Instead, the

regulation states that “[n]o person or entity shall initiate any . . . call for telemarketing purposes to

a residential telephone subscriber unless such person or entity has instituted procedures for

maintaining a list of persons who request not to receive such calls . . . .” 47 C.F.R. § 64.1200(d).

But the FAC nowhere pleads plausible factual allegations that Rocket Mortgage had not instituted

the requisite procedure for maintaining an internal do-not-call list. A “violation of [64.1200(d)] is

. . . the initiation of the phone call without having implemented the minimum procedures.” Charvat

v. GVN Mich., Inc., 561 F.3d 623, 632 (6th Cir. 2009) (internal quotation marks omitted); Simmons

v. Charter Commc’ns, Inc., 222 F. Supp. 3d 121, 131 (D. Conn. 2016) (“[i]n order to allege a

violation of subsection (d), a plaintiff must show that the entity placing the calls failed to institute

the proper procedures prior to the initiation of the call.”), aff’d, 686 F. App’x 48 (2d Cir. 2017). 7



6
  Of course to the extent Count IV purports to or is construed to attempt to plead a separate claim
for violation of the TCPA DNC registry provision, the claim fails for the same reasons as Count
III. See Section II, supra.
7
  Benzion v. Vivint, Inc., No. 12-61826, 2014 WL 11531368, at *5 (S.D. Fla. Jan. 17, 2014) (“A
plain reading of § 64.1200(d) reveals that any cause of action under it must include allegations that
the consumer received a phone call from the telemarketer when the telemarketer did not have
proper procedures in place to make such a phone call.”); Cunningham v. Lifestyles Dev., LLC,
2019 WL 4282039, at *5 (E.D. Tex. Aug. 8, 2019), report and recommendation adopted, No.
4:19-CV-00006, 2019 WL 4277507 (E.D. Tex. Sept. 10, 2019) (“Plaintiff has not provided a
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       Here, even assuming arguendo that the challenged calls and texts were for

telemarketing/solicitation purposes (and they were not for the reasons already explained in Section

II above) such that Section 64.1200(d)’s internal do-not-call list procedure might apply, Plaintiff

pleads no facts (none) regarding Rocket Mortgage’s procedure for maintaining an internal do-not-

call list. For example, although this provision (47 C.F.R. § 64.1200(d)) provides that “persons or

entities making calls for telemarketing purposes must have a written policy, available upon

demand, for maintaining a do-not-call list,” Plaintiff does not plead that he requested this policy

or that Rocket Mortgage failed to provide it. Instead, Plaintiff offers only a bare conclusion

reciting the regulation that “Defendant violated 47 C.F.R. §§ 64.1200(d) and (e) by causing calls

and texts to be placed for telemarketing purposes . . . without instituting procedures that comply

with the regulatory minimum standards for maintaining a do not call policy and a list of persons

who request not to receive telemarketing calls.” FAC ¶ 69 (parroting the language from 47 C.F.R.

§ 64.1200(d)). But as noted above, “the mere recitation of general statutory language without the

support of factual allegations … is not enough to withstand a Rule 12(b)(6) motion.” Birch St.

Recovery Corp. v. Thomas, No. CV-99-571-B, 2000 WL 1513799, at *5 (D.N.H. July 29, 2000).

And, in the absence of plausible factual allegations that Rocket Mortgage lacked the appropriate

procedure, this claim should be dismissed. Callier v. Nat’l United Grp., LLC, No. EP-21-CV-71-

DB, 2022 WL 4088205, at *8 (W.D. Tex. Sept. 6, 2022) (dismissing 64.1200(d) claim where

complaint “only makes generalized allegations . . . [and does not] allege with any particularity or

factual support that [defendants] do not meet the minimum standards required by § 64.1200(d)(1)–




sufficient basis in the pleadings to proceed” under § 64.1200(d) where he did not plausibly allege
that defendant lacked internal procedure).
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(7)”); Benzion, 2014 WL 11531368, at *5 (dismissing subsection 64.1200(d) claim for failure to

allege lack of procedure). 8

       Again, this conclusion is reinforced by Plaintiff’s own allegations and facts of which this

Court may take judicial notice of in resolving this Motion. First, in the FAC, Plaintiff expressly

acknowledges that Rocket Mortgage does have a do-not-call policy and internal do-not-call list

when he alleges (again in conclusory terms) that “Defendant fails to adequately train its employees

and personnel involved in telemarketing in the existence and use of its do not call policy or do not

call list.” FAC ¶ 78 (emphasis added). 9 Second, in 2018, the Southern District of Florida

concluded in Nece v. Quicken Loans, Inc. (n/k/a/ Rocket Mortgage) that Rocket Mortgage has had

the requisite internal do-not-call list procedure in place since as early as 2012—nine years before

the 2021 calls alleged here. 2018 WL 1326885, at *7-8. Neither the allegations in the FAC nor

common sense provide any plausible basis for this Court to conclude that Rocket Mortgage

somehow had the requisite procedure in 2012 but not in 2021. Rather, the plausible inference to

be drawn is that Rocket Mortgage has had the requisite procedure in place since at least 2012.




8
  At most, Plaintiff’s conclusory allegation about two purported text messages after his stop request
suggests an isolated instance of one consumer (Daschbach) who allegedly told Rocket Mortgage
to stop calling but continued to receive texts. FAC ¶¶ 24-26. But an alleged “isolated failure to
timely record a do-not-call request” is not a violation. Nece, 2018 WL 1326885, at *8 (“sporadic
or scattered non-compliance purportedly evidenced by a handful of calls” does not show a failure
to institute compliant procedures).
9
 This conclusory allegation made “on information and belief” regarding employee training cannot
sustain Count IV either. See Jones v. FMA All. Ltd., 978 F. Supp. 2d 84, 87 (D. Mass. 2013) (“bare
allegation” made “[o]n information and belief … is insufficient to sustain a TCPA claim”); Smith
v. Liberty Mut. Ins. Co., 2021 WL 1581017, at *2 (D. Mass. Apr. 22, 2021) (declining to credit
conclusory legal allegations and dismissing TCPA claims).
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IV.    COUNTS V AND VI SHOULD BE DISMISSED BECAUSE PLAINTIFF FAILS
       TO PLEAD THE STATUTE APPLIES TO THE CHALLENGED CONDUCT.

       In Counts V and VI, Plaintiff purports to assert claims for violation of the NHTSC, N.H.

Rev. Stat. Ann. § 359-E:8. But the allegations in the FAC are insufficient to sustain either claim

for multiple reasons.

       First, the NHTSC provisions at issue apply only to “telemarketing sales calls” and the calls

made in response to Plaintiff’s invitation and request do not qualify for the same reasons they do

not qualify as “telephone solicitations” for purposes of Plaintiff’s TCPA DNC registry claim in

Count III. See Section II surpa. Specifically, Plaintiff has not alleged “telemarketing sales calls”

under the NHTSC because a “telemarketing sales call” “shall not include a call made: (a) In

response to an express written or verbal request of the customer called.” N.H. Rev. Stat. Ann. §

359-E:7(XI)(a).

       Second, Counts V and VI fail to state a claim as a matter of law because the NHTSC’s

provisions facially do not apply to the challenged conduct based on Plaintiff’s own allegations.

This is because while Plaintiff rests his claims on four telephone calls and three text messages, the

statute (a) does not apply where the customer has received less than five telephone calls in a month;

and (b) does not apply to text messages.

       The applicable provisions of NHTSC prohibit “[t]elemarketers” from making

“telemarketing sales calls” to a customer in New Hampshire who has registered their name or

telephone number on the Federal Trade Commission’s do-not-call registry. N.H. Rev. Stat. Ann.

§ 359-E:8; FAC ¶ 83. Yet, the FAC fails to plead that Rocket Mortgage is a “telemarketer” within

the meaning of the statute, which requires that Rocket Mortgage, “in connection with

telemarketing, makes telemarketing sales calls to [Plaintiff]. . .” N.H. Rev. Stat. Ann. § 359-

E:7(IX) (emphasis added). “Telemarketing” is defined as “any plan, program, or campaign which


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is conducted to induce payment or the exchange of any other consideration for any goods or

services by use of one or more telephones and which involves more than 5 telephone calls per

month by a telemarketer in which the customer is located within the state at the time of the call.

Telemarketing shall not include the solicitation of sales through media other than by telephone

calls.” Id. at X (emphasis added). Here, Plaintiff has pled only four telephone calls to his

cellphone from Rocket Mortgage (FAC ¶¶ 20-22, 24), less than the “more than five” telephone

calls within one month required to constitute “telemarketing” under the statute. Because Rocket

Mortgage’s conduct does not constitute “telemarketing,” the Company is not a “telemarketer,” and

the statute does not apply. N.H. Rev. Stat. Ann. § 359-E:8. Plaintiff’s conclusory allegation that

“Rocket Mortgage is a telemarketer within the meaning of [the statute]” (FAC ¶¶ 85, 96) need not

be accepted as true when contradicted by the facts alleged and plain language of the statute.

Locapo v. Colsia, 609 F. Supp. 2d 156, 160 (D.N.H. 2009) (dismissing complaint where

“conclusory statement is contradicted by his factual allegations”).

       Finally, Plaintiff asserts in Count VI that Rocket Mortgage violated the statute because

after Plaintiff allegedly requested that Rocket Mortgage stop making calls on September 15, 2021,

Plaintiff allegedly received two text messages (in March 2022). FAC ¶¶ 25-26, 98. But as noted,

the statute does not apply to text messages—“Telemarketing shall not include the solicitation of

sales through media other than by telephone calls.” N.H. Rev. Stat. Ann. § 359-E:7(X); see also

id. at XI (“‘Telemarketing sales call’ means a telephone call made by a telemarketer…”) (emphasis

added). In fact, Plaintiff pleads no telephone calls after his purported stop request. Accordingly,

Count VI fails for the independent reason that it seeks to enforce the statute as to text messages,

which are not governed by the statute.

       For these reasons, Counts V and VI should be dismissed.



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                                        CONCLUSION

       For the foregoing reasons, Rocket Mortgage respectfully requests that this Court grant its

Motion and dismiss the FAC for failure to state a claim upon which relief can be granted.

                                              Respectfully submitted,

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Dated: November 29, 2022




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                                CERTIFICATE OF SERVICE

        I, W. Kyle Tayman, certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

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                                                     /s/ W. Kyle Tayman
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